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    8                      UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10
        STATE FARM MUTUAL                     Case No: 2:23-cv-03462-JLS-RAO
   11   AUTOMOBILE INSURANCE
        COMPANY,
   12                                         ORDER OF DISMISSAL
   13
                   Plaintiff,

   14
          v.

   15   MERCEDES-BENZ USA, LLC and
        FLETCHER JONES MOTORCARS,
   16   INC.,
   17              Defendants.
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    1         Based on the stipulation of the parties (Doc. 48), the stipulation to dismiss
    2   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) is approved. The entire
    3   action, including all claims and counterclaims stated herein against all Parties, is
    4   hereby ORDERED dismissed with prejudice, each side to bear its own costs and
    5   attorneys’ fees.
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              IT IS SO ORDERED.
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   10   DATED: December 29, 2023
   11                                   _________________________________________
                                        HON. JOSEPHINE L. STATON
   12
                                        UNITED STATES DISTRICT JUDGE
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